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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:
                                                                Chapter 11
    Vesttoo Ltd., et al.,1
                                                                Case No. 23-11160-MFW
                     Debtors.
                                                                (Joint Administration Requested)

                        DECLARATION OF AMI BARLEV
         IN SUPPORT OF CHAPTER 11 PETITIONS AND FIRST DAY PLEADINGS

             I, Ami Barlev, do hereby declare, as follows:

             1.     I am the Interim Chief Executive Officer of Vesttoo Ltd., an Israeli company that

has a number of affiliates (each, a “Debtor” and, collectively, the “Debtors,” “Vesttoo” or the

“Company”). I joined the Vesttoo board of directors in June 2021 and was appointed to serve as

interim Chief Executive Officer on August 7, 2023. I am over the age of 18 and authorized to

submit this declaration (this “Declaration”) on behalf of the Debtors in the above-captioned

chapter 11 cases (the “Chapter 11 Cases”). If called as a witness, I would testify competently to

the facts set forth in this Declaration.

             2.     I hold a Bachelor of Laws from Bar-Ilan University. I have been the Executive

Chairman of several Companies (Internet Gold, B Communications Ltd., Cannomed Medical

Cannabis Industries Ltd., Gilat Telecom, Axilion Smart Mobility) and have also been on the board

of several companies (Walla! NEWS, Bezeq On Line, Pelephone, yes., Satcom Systems Ltd.,). In

these roles, I manage business-development processes, create engines for growth, and determine

strategies for crisis management. I also consult on strategic management and strategic planning;



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         Due to the large number of debtor entities in these chapter 11 cases, a complete list of the Debtors and the last
four digits of their federal tax identification numbers is not provided herein. A complete list of such information may
be obtained on the website of the Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/vesttoo.


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liaise with regulatory agencies; direct business-optimization processes; and oversee significant

partnerships and projects.

        3.       On August 14 and 15, 2023 (the “Petition Date”), the Debtors each filed a

voluntary petition (the “Petition”) for relief under chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware (the

“Bankruptcy Court”). I submit this declaration (the “Declaration”) to provide an overview of

the Debtors’ business, the Company’s organizational and capital structure, and the Debtors’

restructuring initiatives to assist the Bankruptcy Court and other parties in interest in understanding

the circumstances and events that led to the commencement of these Chapter 11 Cases. This

Declaration also supports the Petitions and the Debtors’ applications and motions for relief filed

in these Chapter 11 Cases, each of which is discussed below (collectively, the “First Day

Motions”).

        4.       As Interim CEO and Board member, I have been actively involved in preparing the

Debtors’ chapter 11 filings, developing the Debtors’ business plans, and providing diligence to

and negotiating with certain of the Debtors’ key constituencies.

        5.       Except as otherwise stated, the facts in this Declaration are based on my personal

knowledge, my discussions with those reporting directly to me, my review of relevant documents,

or my opinion, based on my experience and knowledge of the Debtors’ operations and financial

condition and my involvement in the preparation of these Chapter 11 Cases. In making this

Declaration, I have relied in part on information and materials that the Debtors’ personnel, agents,

and advisors have gathered, prepared, verified, and provided to me, in each case, under my

supervision, at my direction, and for my use in preparing this Declaration.




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                                        INTRODUCTION

         A.       Overview of Operations

        6.       Vesttoo and its subsidiaries and affiliates are engaged in the development and

construction of unique technology in the field of risk management, which allows insurance and

reinsurance companies (as “cedents” or “retrocedents”) to transfer their insurance risks to capital

market investors through a technological reinsurance transaction platform and reinsurance-related

financial instruments.

        7.       Reinsurance is a transaction whereby an insurance company (called the “reinsured”

or ”cedent”) cedes, “spreads” or transfers to another insurer (called the “reinsurer”) a portion of

the risk that the cedent underwrote under certain of its policies, along with a portion of the

premium. The two insurers thereby share the financial exposure resulting from the risks the cedent

underwrote. This spreading of risk permits a cedent to, among other things, reduce the amount of

reserves it must hold for the protection of policyholders, and thereby increases the cedent’s

capacity to underwrite additional insurance.

        8.       In this case, the assumed insurance risks are placed into segregated accounts or

protective cells created under Bermudan law. Our business has always operated under the

umbrella of an international regulatory structure designed to facilitate our transactions and protect

the parties who participate in them.

        9.       Vesttoo uses proprietary AI-based technology to provide risk modelling,

structuring and performance monitoring for non-catastrophe insurance risks. For its cedent and

retrocedent clients, the company aims to enhance risk transfer. For its investor clients, the

company enables institutional investors to invest in risk-remote, short-term, and non-catastrophe

insurance risks through several structures.


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        10.      Vesttoo became the owner of the accounts and cells and sold interests in such

accounts or cells to capital markets investors. As part of the agreements related to the segregated

cells, there was an agreement for collateral security to be posted for the reinsurer’s obligation.

That security typically takes the form of letters of credit (LOCs). The investors provided collateral

security for the insurance risks placed in the segregated accounts and protective cells.

        11.      Vesttoo recently became the subject of various allegations related to alleged issuing

of fraudulent letters of credit in connection with its services that were focused on supporting

reinsurance transactions through various entities organized and resident here in the US. Vesttoo’s

only insurance company subsidiary Vesttoo Alpha P&C Ltd. (“Alpha P&C”) has been placed in

winding up proceedings in Bermuda. Alpha P&C had only two reinsurance counterparties, and

the few agreements with them have been resolved. Vesttoo’s other US entities continue to support

reinsurance transactions through licensed reinsurance intermediaries and related companies, none

of which operate as domestic insurance companies or are regulated foreign insurance companies

engaged in the business of insurance in the United States. Vesttoo intends to cooperate with all

regulators of its business.

        12.      The company’s technological reinsurance transaction platform and its current

capital structure remain stable and sustainable. Vesttoo intends to use Chapter 11 to address all

financial security issues arising from the fraud allegations and the Bermudan winding up, and to

better position ourselves for the future.

        13.      To familiarize the Bankruptcy Court with the Debtors and the relief that the Debtors

seek in these Chapter 11 Cases, this Declaration is organized into four parts. Part I introduces the

Debtors, their corporate history and business operations. Part II describes the Debtors’ prepetition

capital structure. Part III describes the events that led to the commencement of these Chapter 11


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Cases, including the Debtors’ prepetition financing efforts. Part IV provides an overview of the

relief requested in the First Day Motions, which I have reviewed and with which I am familiar.

    I.         VESTTOO’S HISTORY AND BUSINESS OPERATIONS

         14.      In 2018, Yaniv Bertele, Ben Zickel, and Alon Lifshitz founded Vesttoo in Israel.

The Company’s offices were in Tel Aviv, and during a growth phase, it expanded to New York,

London, Hong Kong, Seoul, Tokyo, and Dubai. At its height, Vesttoo employed hundreds of

people, with a significant number of them based in Israel. A copy of the Company’s corporate

structure chart, which shows each of the debtors is attached to this Declaration as Exhibit A. In

summary, Vesttoo Ltd. is the top company of Vesttoo. Vesttoo Ltd. owns 100% of Vesttoo

Holdings Ltd., Vesttoo Hong Kong Limited, Vesttoo Ltd., Korea Branch, Vesttoo UK Ltd.,

Vesttoo US Inc., and Vesttoo Alpha Holdings Ltd. Vesttoo Holdings Ltd. is the general partner

of several Israeli limited partnerships, each of which is a Debtor in these Chapter 11 Cases (the

“Vesttoo Bay Partnerships”). As for the United States, Vesttoo US Inc. owns Vesttoo SPV

Holdings LLC (US) which owns both Vesttoo Asset Management LLC (US), and Vesttoo

Reinsurance Intermediary Services Inc. (US) (“Vesttoo Reinsurance”).2 Each of these entities

other than Vesttoo Reinsurance is formed under Delaware law; Vesttoo Reinsurance was initially

formed under Delaware law but changed its state of formation to New York and obtained a

reinsurance intermediary license from the New York Department of Financial Services and is

licensed to act as a reinsurance intermediary under New York’s Insurance Law.




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         Additionally, upon information, Vesttoo US Inc. owns Vesttoo RT SPV LLC, which filed for bankruptcy on
August 15, 2023, Case No. 23-11212. I understand that Vesttoo RT SPV LLC is a Delaware entity formed on
December 7, 2022. As part of the Debtors’ ongoing efforts in these Chapter 11 Cases, the Debtors will keep the Court
and parties in interest apprised if the Debtors discover that this entity is not properly in their corporate structure and
may seek to file an amended corporate structure chart in that evet.


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        15.      Vesttoo is a fintech platform built to connect global insurance markets with the

global capital markets. The Company’s vision is to fuse insurance and capital markets so that they

are globally accessible. Vesttoo’s proprietary AI-powered technologies analyze and build risk

models from the large volumes of complex data associated with insurance liabilities to offer access

to a wide range of products, such as property and casualty risks (auto and home and cyber risk)

and life and health risks (mortality risk and longevity risk). Vesttoo combines conventional

actuarial models and proprietary machine-learning algorithms, relying on the large amounts of

data associated with insurance liabilities. Our process analyzes hundreds of models, performs

thousands of tests, and selects the optimal risk model.

        16.      Vesttoo offered three basic categories of insurance risk transfer (1) aggregate stop-

loss reinsurance, a type of reinsurance in which the reinsurer pays losses in excess of the

attachment point, which is a total amount of covered loss paid by the cedent, (2) quota share

treaties, which are pro-rata reinsurance contracts in which the insurer and reinsurer share premiums

and losses according to a fixed percentage from the first dollar of loss (and is therefore said to be

“proportional”), and (3) excess of loss reinsurance in which the reinsurer indemnifies–or

compensates–the ceding company for losses that exceed a specified amount or limit of the cedent.

Quota share reinsurance allows an insurer to retain some risk and premium while sharing the rest

with an insurer up to a predetermined maximum coverage while excess of loss provides non-

proportional reinsurance based on loss retention that is, the ceding company agrees to accept all

losses up a predetermined level (similar to a deduction).

        17.      As demonstrated in the sample Transaction Flow (figure 17.1), an insurance

company cedes its risk as a cedent under a Reinsurance Agreement with a transformer entity. The

transformer entity is a reinsurer that in effect converts the insurance risk into an investible form of


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security or ownership interest. In this case, the transformer then entered into agreements with one

of the Vesttoo Bay Funds, such as a Shareholder Agreement, a Cell Management Agreement, and

a Subscription Agreement. Under these suites of agreements, the Reinsurance Agreement was

transformed into an equity security in a segregated and protected cell created under the Bermuda

Segregated Accounts Companies Act 2000, which equity security was sold to the Vesttoo Bay

Funds that resulted in the Vesttoo Bay entity becoming the owner of the applicable segregated cell

and any funds held on account for that entity. Earlier today, notwithstanding these Chapter 11

Cases, the BMA jointly agree with White Rock White Rock Insurance (SAC) Ltd. (“White Rock”)

(whose lawyers had been informed that such action would violate the automatic stay) at a hearing

in chambers at which our Bermudian lawyers were excluded, to have the Supreme Court of

Bermuda to appoint the same joint provisional liquidators that are serving over Vesttoo P&C to

act as Joint Provisional Liquidators for White Rock with respect to the segregated cells owned by

the Debtors. The Vesttoo Bay Funds are governed by a Limited Partnership Agreement, under

which Vesttoo Holdings Ltd. is the general partner and identified investors in each limited

partnership agreement are the limited partners. The Limited Partner was generally obligated to

contribute to the Vesttoo Bay Limited Fund (a) an account for fees and expenses, and (b) the LOC

to provide collateral. The Letter of Credit was provided by the Investor to provide collateral

security required to support the insurance assumed from, and for the benefit of, the Cedent.




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Figure 17.1 (Source: Vesttoo Ltd.).

          18.     In addition to the transactions above in which the Vesttoo Bay Partnerships were

used, Vesttoo P&C, an entity formed under the laws of Bermuda, served as its own transformer

entity. In this capacity, it entered into one reinsurance contract, which was cancelled, and was in

the process of negotiating a second insurance contract, which did not close. These two reinsurance

risk transfer agreements were structured in a similar way to those that utilized a third-party

transformer entity between the Cedent and the Vesttoo Bay Partnerships.

    II.         PREPETITION CORPORATE AND CAPITAL STRUCTURE

          19.     Vesttoo does not have any secured lenders and has not issued any funded debt.

They have trade debt owed to various vendors, consultants, and law firms of about $2.3 million.

The company was founded through venture capital financing. In August 2021, Vesttoo raised $6

million in a Series A funding round led by Hanaco Ventures, as part a broader investment strategy

in Vesttoo’s Insurance-Linked Program. Vesttoo raised another $15 million a few months later in

November 2021 in a Series B funding round led by Mouro Capital and included investment from

MS&AD Ventures, the corporate venture capital fund of Japan-based MS&AD Insurance Group

Holdings, the fifth largest insurance conglomerate in the world. In October 2022, Vesttoo

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announced an $80 Million Series C financing round co-led by Mouro Capital, valuing the

Company at $1 billion. Gramercy Ventures, Black River Ventures, and Hanaco Ventures also

participated in the round. In May 2023, Vesttoo embarked on a Series D funding round at a

valuation of $1.5-2 billion. The Series D round did not close. As a result of these financing rounds

and other equity investment activity, Vesttoo Ltd. is owned by the shareholders identified on the

List of Equity Security Holders it filed with its voluntary petition.

           20.     Vesttoo ended 2022 with revenues of approximately $110 million compared to $30

million the year prior. The company's EBITDA for 2022 was estimated at $60 million compared

to $20 million in 2021.

    III.         EVENTS LEADING TO THE CHAPTER 11 CASES & CHAPTER 11 GOALS

           21.     Based on the various rounds of financing and other investor’s sales of their

positions, Vesttoo’s valuation earlier this year exceed $785 million. The Company also engaged

in major transactions with among others, renewal of more than a $120 million quota share

reinsurance cover for a leading London Lloyd’s syndicate and entering a partnership agreement

with Clear Blue to supply the latter with reinsurance capacity sourced from capital markets

investors, totaling a sum of $1 billion.

           22.     But in mid-July of this year, the press reported that certain LOCs that were posted

as collateral for the benefit of cedents were invalid as China Construction Bank reportedly denied

all knowledge of the LOC presented by one of the cedents to pay claims arising under the insurance

claims ceded into a Vesttoo transaction. The press reports contended the LOCs were fraudulent.

To address this situation, the Company engaged DLA Piper LLP (US), who together with Kroll

Associates UK, Ltd., started to investigate these allegations and press reports. That investigation

is ongoing, and the Company expects it to continue during these Chapter 11 Cases.


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        23.      Soon after these reports, the press also reported that various regulators were trying

to figure out what happened and that, according to an article in the Wall Street Journal on August

4, 2023, allegedly more than $2 billion of the alleged fraud occurred in the US. But certain of

Vesttoo’s counterparties were able to replace the LOC collateral. For example, Clear Blue said in

a statement that it was able to replace collateral related to Vesttoo transactions and that it had

retained premiums related to other deals, which was more than sufficient to pay all claims of the

affected programs.

        24.      The crises had a significant impact on Vesttoo, and the board acted decisively to

protect the value of the Company’s assets. For example, on August 1, 2023, the Company

announced it was laying off about 75% of its staff and closing some offices in Tokyo, Hong Kong,

and Seoul, but would maintain staff in Tel Aviv, New York, London, Dubai, and Bermuda.

Additionally, two of Vesttoo’s founders, including one that was the Company’s Chief Executive

Officer, Mr. Bertle, were placed on paid leave during the pendency of the investigation. The board

then appointed me to act as interim CEO to assist it with completing the investigation

and identifying the core positive assets and employees to take the business forward and

maximize value.

        25.      One consequence of this crises was that the Bermuda Monetary Authority

appointed investigators to inquire into the operations of Vesttoo P&C and shortly thereafter applied

for appointment of Joint Provisional Liquidators, which the Bermuda court granted, appointing

Michael Morrison and Charles Thresh from Teneo to serve as joint provisional liquidator for

Vesttoo P&C.

        26.      Additionally, on August 10, 2023, one of the transformer entities in Bermuda,

White Rock, filed a petition for a preliminary injunction in the District Court for the Southern


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District of New York seeking to freeze Vesttoo’s US bank accounts and compel it to provide

information about the nature and scope of alleged collateral fraud. Later that night, the court in

New York entered a TRO, freezing Vesttoo’s assets except for $1 million for payroll and other

business expenses in the ordinary course. The TRO order required Vesttoo to respond to the

Petition for Preliminary Injunction by noon on Monday, August 14, 2023, and scheduled a hearing

on the preliminary injunction petition for Tuesday, August 15, 2023. Thereafter, White Rock

served discovery on Vesttoo and demanded to take depositions of a number of its US based

employees. While Vesttoo did submit a response on August 14, 2023, White Rock’s petition, and

the related discovery, was stayed by the filing of these cases, and the TRO has been dissolved as

reflected by an ordered entered by the District Court on August 15 after a brief hearing on the

petition.

        27.      In addition to the appointment of Joint Provisional Liquidators and the White Rock

litigation, the Company has received correspondence from regulators, cedents, banks that issued

LOCs, and fronting brokers that arranged reinsurance on their platform inquiring into the facts and

circumstances around the press reports and the allegations regarding the LOCs. In light of all of

these events and the pressures created by the LOC crisis, Vesttoo’s board decided to file these

cases to obtain the benefits of the automatic stay to give it the breathing spell its needs to complete

its investigation, take remedial action to ensure that wrongdoers, if any, within the Company are

removed, and those outside the Company are identified and appropriate remedies pursued.

        28.      In these cases, Vesttoo also intends to evaluate its business to ensure that the

proprietary AI technology and the employees that have developed it and understand how to use it

are reorganized or used to support a value maximizing transaction. And, in pursuing this value-

maximizing strategy, the Debtors intend to negotiate with its creditors, the cedents, and other


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parties in interest, including governmental regulators, to resolve this crisis and emerge a stronger

and healthier company. Moreover, to the extent the investigation results in systemic problems or

discovery of wrongdoing within Vesttoo, it is our intent to resolve these problems and remove

these wrongdoers, all in collaboration with our stakeholders, customers, investors, and,

importantly, any governmental authorities with regulatory oversight of Vesttoo’s businesses.

    IV.         SUMMARY OF RELIEF SOUGHT IN THE FIRST DAY MOTIONS3

          29.     Since filing these cases, the Debtors have filed a number of First Day Motions4 in

these Chapter 11 Cases seeking orders granting various forms of relief intended to stabilize the

Debtors’ business operations and facilitate the efficient administration of these Chapter 11 Cases.

I believe that the relief requested in the First Day Motions is necessary to avoid immediate and

irreparable harm and allow the Debtors to operate with minimal disruption during the pendency of

these Chapter 11 Cases. A description of the relief requested in and the facts supporting each of

the First Day Motions is set forth below.

          A.       Joint Administration Motion

          30.     Through the Joint Administration Motion, the Debtors seek entry of an order

directing the joint administration of these Chapter 11 Cases for procedural purposes only. I

anticipate that many of the notices, motions, other pleadings, and orders in these Chapter 11 Cases

will affect more than one Debtor. In addition, the Debtors share many of the same creditors.

Therefore, I believe that joint administration will (i) save time and expenses for the Court and for

the Debtors’ estates, and (ii) avoid duplicative and potentially confusing filings by permitting

counsel for all parties in interest to file all notices and pleadings on a single case docket, under a


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           Capitalized terms in this Part IV that are used but not defined in this Declaration have the meanings set forth
in the applicable First Day Motion, and each of the First Day Motion is incorporated into this Declaration by reference.




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single caption. I understand that joint administration will also protect all parties in interest by

ensuring that creditors in each of the Debtors’ respective bankruptcy cases will be informed of the

various matters before the Court in these Chapter 11 Cases.

        31.      I do not think the rights of the Debtors’ respective creditors and stakeholders will

be adversely affected by the joint administration of these Chapter 11 Cases because, I understand

the relief is procedural and not intended to affect substantive rights or permit substantive

consolidation of the separate Debtors’ estates.

        32.      I believe that the relief requested in the Joint Administration Motion is in the best

interest of the Debtors’ estate, creditors, and all other parties in interest. Accordingly, on behalf

of the Debtors, I respectfully submit that the Joint Administration Motion should be granted.

        B.       Motion to Redact PII and Limit Equity Holder Disclosure

        33.      Through the PII Motion, the Debtors seek authority to (i) redact certain personally

identifiable information of current and former employees and equity holders of the Debtors.

        34.      Specifically, the Debtors seek authority to redact the personal information,

including home addresses, of the Debtors’ current and former employees, as well as individual

equity holders, to avoid exposing these individuals to potential identity theft or jeopardizing their

safety by publishing their home addresses.

        35.      Redaction of personally identifiable information is appropriate under section

107(c)(1) of the Bankruptcy Code because such information can be used to perpetrate identity theft

or locate survivors of domestic violence, harassment, stalking, or phishing scams. Additionally, I

believe that redacting the Debtors’ current and former employees’ and equity holders’ home

addresses from the Debtors’ Creditor Matrix and Schedules and Statements is prudent under the

circumstances and will protect the Debtors’ current and former employees and equity holders from


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unnecessary disclosure of personally identifiable information. Accordingly, on behalf of the

Debtors, I respectfully submit that the PII Motion should be granted.

         C.       Epiq Retention Application

        36.      Through the Epiq Application, the Debtors seek the appointment of Epiq as claims,

noticing, balloting, and solicitation agent for these Chapter 11 Cases in accordance with the

Engagement Agreement, effective as of the Petition Date. In that role, Epiq would assume full

responsibility for, among other tasks, the distribution of statutory notices to creditors and other

parties in interest and the maintenance, processing, and docketing of proofs of claim filed in these

Chapter 11 Cases. Given the complexity of these Chapter 11 Cases and the number of creditors

and other parties in interest involved, I believe that the appointment of Epiq will maximize the

value of the Debtors’ estates for all their stakeholders and will help facilitate the efficient

administration of these Chapter 11 Cases while alleviating these burdens for the Clerk of the Court.

Vesttoo solicited bids from three different claims agents and determined from these three requests

for services that Epiq was well positioned to serve in this roll out of the four bids solicited.

Accordingly, on behalf of the Debtors, I respectfully submit that the Application should

be approved.

         D.       Motions for Orders for Entry of an Order Clarifying the Stay and Appointing
                  Vesttoo Ltd. as a Foreign Officer under 1505 of the Bankruptcy Code

        37.      Vesttoo Ltd. recently sought ancillary relief in Israel on behalf of the Debtors’

estates under Part 9 of the Insolvency and Financial Rehabilitation Law 5778-2018 (the “IFRL”),

which reflects Israel’s adoption of the UNCITRAL Model Law on Cross Border Insolvency, in an

administrative district of Israel to be determined (the “Israeli Court”). The purpose of the

ancillary proceedings (the “Israeli Proceedings”) is to request that the Israeli Court recognize

these chapter 11 cases as foreign proceedings under the applicable provisions of the IFRL in order

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to, among other things, protect the Debtors’ assets and operations in Israel as a means of aiding

and assisting this Court with the administration of these estates and to permit cooperation, if

appropriate.

        38.      In our initial motion for provisional relief submitted to the Israeli Court, the court

appears to have misunderstood the request for a full insolvency proceeding and thus dismissed it

as not having sufficient facts to support a plenary proceeding. Entry of an order authorizing

Vesttoo Ltd. to act as entity to act as the foreign representative, referred to as the “foreign officer”

under the IFLR, on behalf of all of the Debtors’ estates (the “Foreign Representative”), would

ensure the Israeli Court is aware that this Court has authorized Vesttoo Ltd. to act as the Foreign

Representative. That clarity would assist Vesttoo in obtaining a recognition order under the IFLR,

which is important since we have significant operations in Israel. With other operations in other

locations around the globe, it will also be useful for us to have this order entered in case we need

to seek recognition in other countries. Therefore, the Debtors request entry of an order that reflects

that Vesttoo Ltd., as debtor in possession, may act as a Foreign Representative in foreign

proceedings, including any Israeli Proceeding.

        39.      Similarly, with so many foreign operations and parties in interest, the Debtors have

many foreign creditors, contract counterparties and other parties-in-interest in countries who may

not be well versed in the protections and restrictions of the Bankruptcy Code. Creditors and parties-

in-interest may be unfamiliar with the operation of the worldwide automatic stay involve upon the

Petition Date and other provisions of the Bankruptcy Code.

        40.      Upon the commencement of these Chapter 11 Cases, non-U.S. counterparties to

certain leases and executory contracts could attempt to terminate such leases or contracts, even if

not permitted under the Bankruptcy Code.


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        41.      Similarly, governmental units outside of the United States may, deny, suspend,

terminate, or otherwise place conditions upon certain licenses, permits, charters, franchises, or

other similar grants held by a Debtor that is required for the Debtors’ ongoing business operations.

        42.      I think that if the Court would grant the Motion of the Debtors for Entry of an Order

Enforcing Sections 362, 365(E)(1), 525 and 541 of the Bankruptcy Code the Company could share

that order with the Israeli Court in support of its application for recognition and also have it

available to share with foreign parties, which should reduce the risk that foreign parties will violate

the terms of the Bankruptcy Code, avoid litigation over these issues, and be in the best interest of

the Debtors.

         E.        Cash Management Motion

        43.      Through the Cash Management Motion, the Debtors seek entry of an order

(i) authorizing the Debtors to maintain their current Cash Management System, existing bank

accounts and business forms, including authorizing the Debtors to open and close bank accounts

in the ordinary course of business, (ii) modifying certain requirements of section 345 of the

Bankruptcy Code, (iii) authorizing all banks participating in the Case Management System to

honor certain transfers and charge bank fees and certain other amounts, and (iv) permitting

continued intercompany funding and granting administrative expense priority status to postpetition

intercompany claims held by a Debtor against one or more of the other Debtors, and (v) scheduling

a final hearing.

        44.      The Debtors currently maintain 46 bank accounts (each, a “Bank Account” and,

collectively, the “Bank Accounts”) with the following banks and other financial institutions (each,

a “Bank” and collectively, the “Banks”): (i) Bank Hapoalim; (ii) Truist Financial; (iii) HSBC; (iv)




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DBS Bank (Hong Kong) Limited; (v) Webster Bank; (vi) Hana Bank, Naejadong Branch; (vii)

HSBC Bank Bermuda; and (viii) Israel Discount Bank.

        45.      The Debtors also maintain two credit cards used to pay expenses that arise in the

ordinary course, including office supplies, equipment, gasoline charges, among others. Further,

and in the ordinary course of business, the Debtors’ main operating account transfers funds on

behalf of certain of the Debtors on account of invoices due and payable for various operating

expenses and obligations arising from customer contracts.

        46.      I believe that the continuation of the Debtors’ Cash Management System is

essential to the Debtors’ businesses, and the Debtors’ operations would be hampered significantly

if they were forced to discontinue using their existing Cash Management System, causing

confusion to the Debtors’ vendors, customers, and employees, among others. I believe that the

relief requested in the Cash Management Motion is in the best interests of the Debtors’ estates,

their creditors, and all other parties in interest, and will enable the Debtors to continue to operate

their businesses in chapter 11. I also believe that there is cause under the circumstances to waive

the requirements to close certain of the Debtors’ Bank Accounts and open up new bank accounts

at certain banks authorized by the Office of the United States Trustee. As I understand such

requirements, doing so would be both cost-prohibitive and practically impossible under the

circumstances. As set forth herein, the Debtors are the subject of investigations across numerous

countries based on alleged prepetition conduct. It follows that it is likely that the Debtors would

not be able to open up new bank accounts in a timely manner; notably KYC and AML requirements

would likely bar the Debtors from opening up new accounts at this time.

        47.      Further, even if the above would not bar the Debtors from opening up new bank

accounts, such an undertaking would distract the Debtors and their employees from the important


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task of continuing to operate the Debtors’ businesses in the ordinary course of business and

proceed through these Chapter 11 Cases.

         48.      Accordingly, on behalf of the Debtors, I respectfully submit that the Cash

Management Motion should be granted.5

          F.       Wage Motion

         49.      Through the Employee Wage Motion, the Debtors seek authorization (i) to pay

prepetition wages and other compensation, taxes and withholdings, and reimbursable employee

expenses, (ii) to honor and continue benefit programs for employees, and (iii) for the Debtors’ cash

management banks and financial institutions at which the Debtors maintain disbursement and other

accounts to receive, process, honor and pay all checks issued and electronic payment requests

made related to such employee obligations.

         50.      The Debtors’ workforce is composed of approximately 74 full-time employees (the

“Employees”), who are full time and salaried.

         51.      As of the Petition Date, the Debtors believe that they owe $500,000.00 to the

Employees in accrued and unpaid compensation. The most recent, regularly scheduled payroll

cycle prior to the Petition Date for the Salaried Employees ended on July 31, 2023, which covered

the period from July 1, 2023, through July 31, 2023. The most recent payroll cycle prior to the

Petition Date for (i) the Employees located in Israel ended on August 3, 2023, which covered the

period from July 1, 2023, through August 3, 2023, (ii) August 15, 2023 for the Employees located

in the U.S, which covered the period from July 31, 2023 through August 15, 2023; (iii) July 30,


5
         As set forth in the Cash Management Motion, the Debtors and their professionals are conducting ongoing
investigations to identify and verify additional bank accounts and cash positions. To the extent the statements or
descriptions set forth therein are inaccurate or incomplete, the Debtors will seek to either amend such statements or
descriptions or provide further information to the Court and parties in interest during any hearings set to consider the
Cash Management Motion.


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2023 for the Employees located in the United Kingdom, which covered the period from July 1,

2023 through July 30, 2023; (iv) August 15, 2023 for the Employees located in Bermuda, Dubai,

and Hong Kong, which covered the period from July 15, 2023 through August 15, 2023; and (v)

August 8, 2023 for the Employees located in Korea, Dubai, Japan, and Germany, which covered

the period from July 8, 2023 through August 8, 2023.

        52.       Most Employees rely exclusively on their compensation and benefits to pay their

daily living expenses and support their families and would be exposed to significant financial

hardships were the Debtors unable or unauthorized to continue paying compensation, provide

employee benefits, and maintain existing programs. The Debtors seek to minimize the personal

hardship that their workforce would suffer if the Debtors’ obligations were not honored when due

or as expected.

        53.       Additionally, a significant portion of the value of the Debtors’ businesses is tied to

their workforce, especially those skilled in the Company’s AI technology and those that are versed

in the complexities of the reinsurance and retrocession industries; these special skills cannot be

replaced without significant efforts—which efforts may not be successful given the overhang of

these Chapter 11 Cases. If the Debtors are not authorized to pay the Prepetition Employee

Obligations, the Debtors’ workforce could lose morale and Debtors’ operations could be

jeopardized, especially in the face of the uncertainty created by the LOC issues. As a result, I

believe that payment of the Prepetition Employee Obligations is a necessary and critical element

of the Debtors’ efforts to preserve value and will afford the Debtors the greatest likelihood of

retention of their Employees as the Debtors seek to operate their businesses in these Chapter 11

Cases. Accordingly, on behalf of the Debtors, I respectfully submit that the Wages Motion should

be granted.


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                     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury of the Laws of the United

            States of America that the foregoing is true and correct to the best of my knowledge, information,

            and belief.


                                                             Ami Barlev




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